       Case: 1:19-cv-07614 Document #: 73 Filed: 02/16/22 Page 1 of 1 PageID #:338


   FIL ED                  ER
     6/2022
     2/1
             . BRUTO    N    UNITED STATES DISTRICT COURT
   THOMA.SDG  T R IC T COURT
CLERK, U.S
           IS               NORTHERN DISTRICT OF ILLINOIS
                                      EASTERN DIVISION

                                               )
           __Haroon Arrasheed___               )       Case Number: 1:19-cv-07614
                 Plaintiff                     )
                                               )       Judge: Honorable Steven C. Seeger
                  v.                           )
                                               )       Magistrate Judge: Honorable M. David
                                                       Weisman
           Chicago Public Schools / The Board )
                  Defendant                    )


           PLAINTIFF'S MOTION FOR MOTION FOR DISCOVERY EXTENSION


           Plaintiff Haroon Arrasheed pro se, submits this Motion for a Discovery Extension.

   The Plaintiff made a document request on 01/31/2022. The document request is for a

   substantial amount of documents. The Plaintiff is requesting a 60 day extension

    Date: 02/16/2022                                          Respectfully Submitted,


                                                                  /s/ Haroon Arrasheed



    Name: Haroon Arrasheed
    Address: 438 E. 144th Street, Dolton, IL. 60419
    Phone Number:
